Case 1:05-cr-00013-GJQ           ECF No. 108, PageID.200           Filed 05/17/05      Page 1 of 1

                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                 ______________________

UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:05:CR:13-03
v.
                                                      HON. GORDON J. QUIST
DANIEL MACIAS,

            Defendant.
____________________________/

                                             ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed May 2, 2005, is

approved and adopted as the Opinion and Findings of this Court.

       2.      Defendant Daniel Macias' plea of guilty to Counts One and Three of the Superseding

Indictment is accepted. Defendant Daniel Macias is adjudicated guilty and bond will be revoked at

the time of reporting.

       3.      Defendant Daniel Macias shall report to the United States Marshal in Grand Rapids,

Michigan, at 2:00 PM, Monday, May 23, 2005. Defendant Daniel Macias shall be detained pending

sentencing.

       4.      A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: May 17, 2005                                         /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
